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                         EXHIBIT 3
          Case 3:06-cv-06384-CRB
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 3 U.S. Securities and Exchange Commission
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 5 Fax: (303) 844-1068
 6
 7                               UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
 9                           SAN FRANCISCO DIVISION
10 __________________________________________
     SECURITIES AND EXCHANGE                                   Case No. 3:06-CV-06384 CRB
11
     COMMISSION,                                               STIPULATION CONTINUING
12
                                 Plaintiff,                    HEARING DATE ON MOTION TO
13
                                                               DISMISS OF DEFENDANTS
14
     PEREIRA, et al.                                           PEREIRA AND STANTON
15
                                 Defendants.                   AND PROPOSED ORDER
16
                                                               New Date: February 16, 2007
17
                                                               Time: 10:00 am
18
                                                               Courtroom: 8
19
                                                               Judge: Hon. Charles R. Breyer
20 __________________________________________
21
22         Pursuant to Civil Local Rules 6-2, 7-7(a), and 7-12, Plaintiff Securities and Exchange
23 Commission and Defendants Romulus Pereira and Robert Stanton stipulate that the original
24 hearing date on the Defendants’ Motion to Dismiss, which was set for January 19, 2007, is
25 continued to February 16, 2007. Plaintiff’s opposition to the motion was originally due on
26 December 29, 2006 during a week when plaintiff’s counsel will be on vacation. Plaintiff has
27 requested the continuance prior to the date when the original opposition is due and Defendants
28 have agreed.

     Notice Changing Hearing Date on Pereira & Stanton Motion to Dismiss
     Case No. 06-CV-06384 CRB
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1           The parties also agree that the Plaintiff will file its opposition to the motion by January
2 19, 2007, and the Defendants Pereira and Stanton will file their reply by February 2, 2007.
3           DATED: December 20, 2006
4                                                  Respectfully submitted,
5
6
                                                   s/ Leslie J. Hughes____________________
7
                                                   Leslie J. Hughes, Esq. (Colo. 15043)
8                                                  Attorney for Plaintiff
                                                   Securities and Exchange Commission
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12
                                                   By: s/Quyen L. Ta___________________
13
                                                           Quyen L. Ta
14                                                         KEKER & VAN NEST
15                                                         710 Sansome Street
                                                           San Francisco, CA 94111-1704
16                                                         Telephone: (415) 391-5400
                                                           Facsimile: (415) 397-7188
17
18                                                         Attorneys for Defendants
                                                           ROMULUS S. PEREIRA
19                                                         ROBERT B. STANTON
20          PURSUANT TO STIPULATION, IT IS SO ORDERED.
21
22
23
24                                                 ________________________________
                                                   Charles R. Breyer
25                                                 United States District Judge
26
27
28

                                                   2
     Stipulation Changing Hearing Date on Pereira & Stanton Motion to Dismiss
     Case No. 3:06-CV-06384 CRB
